        Case 1:21-cr-00190-DLF          Document 93       Filed 08/31/23      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-190-DLF
               v.                             :
                                              :
ZACHARY JORDAN ALAM,                          :
                                              :
                       Defendant.             :

                            JOINT STATEMENT OF THE CASE

       The government has charged the defendant, Zachary Jordan Alam, with ten crimes

relating to the events at the United States Capitol on January 6, 2021. More specifically, he is

charged with assaulting or interfering with U.S. Capitol Police officers; and with obstructing or

interfering with U.S. Capitol Police officers during a civil disorder. He is also charged with the

destruction of government property; and with obstructing an official proceeding. He is also

charged with unlawfully entering and remaining, and engaging in disorderly and disruptive

conduct in a restricted building and grounds, both charges involving a deadly or dangerous

weapon, And also he is charged, while inside the U.S. Capitol building, of engaging in an act of

physical violence against person or property with a deadly and dangerous weapon, committing

an act of physical violence, and unlawfully parading, demonstrating, and picketing.

       Mr. Alam denies each charge.
